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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                               (SOUTHERN DIVISION)

 IVY SKIDMORE

                        Plaintiff,

                 v.                                Civil Action No.: 8:24-cv-2736-PJM

 CACI, INC. - FEDERAL

                        Defendant.


              CONSENT MOTION OF DEFENDANT CACI, INC. - FEDERAL
                          FOR EXTENSION OF TIME

        Defendant CACI, Inc. (“Defendant”), by its undersigned attorneys and with the consent of

Plaintiff, hereby moves this Court for an extension of time of an additional two (2) weeks to file

its opposition to Plaintiff’s motion for leave to amend complaint and to file its Reply in support of

Defendant’s Motion to Dismiss.

        WHEREFORE, Defendant respectfully requests that the Court enter an order extending the

deadline for Defendant to file its Opposition to Plaintiff’s motion for leave to amend complaint

and extending the deadline for Defendant to file its Reply in support of Defendant’s Motion to

Dismiss, through and including December 23, 2024.

                                                       Respectfully submitted,

        Date: November 26, 2024                       /s/ Michelle M. McGeogh
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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 26th day of November, 2024, a true and correct copy of

the foregoing was served by ECF notification to:

                             John B. Stolarz
                             The Stolarz Law Firm
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                             Counsel for Plaintiff

                                                     /s/ Michelle M. McGeogh
                                                     Michelle M. McGeogh




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